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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       April 7, 2021
BY ECF
The Honorable Cathy Seibel
United States District Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

       Re:     United States v. Grafton E. Thomas, 20 Cr. 21 (CS)

Dear Judge Seibel:

        The parties write jointly regarding the status of this matter following receipt of the March
30, 2021 supplemental report from the defendant’s treating and evaluating psychologist, Dr. Lea
Ann Preston Baecht (the “Supplemental Report”). The parties agree that in light of the
Supplemental Report, no evidentiary hearing regarding the defendant’s competency is necessary.
The parties agree that the Court may rely upon Dr. Baecht’s conclusions to find that the defendant
is presently incompetent to stand trial, and that there currently is not a substantial probability that
in the foreseeable future the defendant will attain the capacity to permit the proceedings to go
forward. See 18 U.S.C. § 4241(d).

        Given these developments, the parties respectfully request that the Court refer the
defendant for civil commitment pursuant to 18 U.S.C. § 4246. See 18 U.S.C. § 4241(d) (defendant
is subject to provisions of Section 4246 where defendant has not attained competency after
authorized period of treatment). Under Section 4246, if the director of the Bureau of Prisons
(“BOP”) facility housing a defendant under Section 4241(d) certifies that the defendant is suffering
from a mental disease or defect “as a result of which his release would create a substantial risk of
bodily injury to another person or serious damage to property of another,” and the Court finds the
same by clear and convincing evidence after a hearing, the Attorney General shall release the
defendant to the appropriate state officials for commitment, or continue to hospitalize the
defendant for treatment in an appropriate BOP facility until the state assumes such responsibility.
18 U.S.C. § 4246(a)-(d). Before such a hearing, the Court “may order that a psychiatric or
psychological examination of the defendant be conducted, and that a psychiatric or psychological
report be filed with the court.” 18 U.S.C. § 4246(b); see also Supplemental Report at 18 (stating
that if the defendant is “adjudicated as unrestorable to competency,” then “a mental health
assessment to determine whether he suffers from a mental disease or defect as a result of which
his release would create a substantial risk of bodily injury to another person or serious damage to
property of another would need to be completed”). Defense counsel does not dispute that their
client currently presents a danger to the community and have no objection to entry of a finding
pursuant to Section 4246.
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        Accordingly, the parties respectfully request that the Court direct the BOP to provide a
Section 4246 mental health assessment opining as to whether releasing the defendant with his
mental disease or defect would create a substantial risk of bodily injury to another person or serious
damage to property of another, and to file a report with its findings with the Court. A proposed
order is attached hereto as Exhibit A. Should the Court grant this request, the parties respectfully
request an exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(1)(A), for
approximately 45 days, until May 24, 2021, to afford adequate time for the BOP to file a report
regarding the defendant’s eligibility for civil commitment pursuant to 18 U.S.C. § 4246.

                                                        Respectfully submitted,

                                                        AUDREY STRAUSS
                                                        United States Attorney for the
                                                        Southern District of New York

                                                  By:              /s/
                                                        Lindsey Keenan
                                                        Lara Eshkenazi
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                                                        GRAFTON E. THOMAS

                                                  By:             /s/
                                                        Michael H. Sussman., Esq.
                                                        Bobbi E. Sternheim, Esq.




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